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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN

In re: Chapter 11
Case No. 20-01947-jwb
BARFLY VENTURES, LLC, et al,! Hon. James W. Boyd
Debtors. Jointly Administered

/

 

FIRST AND FINAL FEE APPLICATION OF WARNER NORCROSS + JUDD LLP
FOR PAYMENT OF COMPENSATION AND REIMBURSEMENT
OF EXPENSES AS COUNSEL TO DEBTORS

NOW COMES Warner Norcross + Judd LLP (“WNJ”) and hereby files this First and
Final Fee Application of Warner Norcross + Judd LLP For Payment of Compensation And
Reimbursement of Expenses as Counsel to Debtors (the “Application”), and respectfully states as
follows:

CASE BACKGROUND

L On June 3, 2020 (the “Petition Date’’), the above-captioned debtors and debtors in

possession (the “Debtors”) commenced these chapter 11 cases by filing voluntary petitions for

relief under chapter 11 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy

Code”).

 

' The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s
Restaurant Saloon)(4255).
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a This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.
This is a core proceeding pursuant to 28 U.S.C. § 157(b).

os WNJ files this Application pursuant 11 U.S.C. §§ 330 and 331.

4. On July 22, 2020, the Court entered an order approving WNJ’s employment as
counsel for the Debtors, retroactive to June 3, 2020 (the “Employment Order”).

5. On June 3, 2020, the Court entered its Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses of Professionals (the “Procedures Order”).

6. Under the Procedures Order, the retained professionals, including WNJ, filed with
the Court and served monthly statements of fees and expenses on the Notice Parties (as defined
in the Procedures Order). If no timely objections were filed, Debtors were authorized to pay
each professional 80% of the fees and 100% of the expenses requested in each monthly
statement.

REQUEST FOR COMPENSATION

7. In connection with professional services rendered to Debtors in this case during
the post-petition time period spanning from June 3, 2020 through March 5, 2021 (the
“Compensation Period”), WNJ seeks allowance and payment of compensation in the amount of
$259,294.00 and reimbursement of expenses in the amount of $54,787.87.

8. In support of this Application, the following exhibits are attached:

e Exhibit A — Summary of Timekeepers and Summary of Compensation
Requested by Project Category

e Exhibit B — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for June 2020

e Exhibit C — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for July 2020
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Exhibit D — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for August 2020

Exhibit E -— Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for September
2020

Exhibit F — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for October 2020

Exhibit G — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for November
2020

Exhibit H — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for December
2020

Exhibit I — Detailed time entries related to the compensation requested,
along with the detail of expenses incurred for January 2021

Exhibit J — Detailed time entries related to the compensation
requested, along with the detail of expenses incurred for February 1
through March 5, 2021

9. WNJ served monthly statements for interim compensation and expense

reimbursement for the months of June-November 2020 (each, a “Monthly Statement” and

collectively, the Monthly Statements)’ as set forth below:

 

 

 

 

 

 

 

 

 

 

 

 

 

Fees & Expenses Paid Outstanding
Monthly Period Fees Expenses | Per Compensation Order Balance
June 2020 $59,901.50 | $49,470.47 $97,391.67 $11,980.30
July 2020 $54,092.00 $257.74 $43,531.34 $10,818.40
August 2020 $24,061.00 | $1,059.30 $20,308.10 $4,812.20
September 2020 $50,470.00 $22.60 $40,398.60 $10,094.00
October 2020 $47,967.50 $18.20 $38,392.20 $9,593.50
November 2020 $6,727.00 | $3,528.40 $8,910.00 $1,345.40
TOTAL $243,219.00 | $54,356.71 $248,931.91 $48,643.80

 

 

2 See Dkt. Nos. 191 (June), 265 (July), 325, (August), 369 (September), 401 (October), and 423

(November).

 
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10. In addition, WNJ incurred the following fees and costs for December 2020,

January 2021, February 2021, and March 1-5, 2021:

 

 

 

 

 

 

 

 

 

 

 

Monthly Period Fees Expenses Total Fees & Expenses
December 2020 $2,851.00 $0.00 $2,851.00
January 2021 $3,175.50 $15.00 $3,190.50
February-March 1-5 2021 $10,048.00 $416.16 $10,464.16

TOTAL $16,075.00 $431.16 $16,506.16
11. WNJ’s legal services in this case are described in detail in the time entries located

in Exhibits B-J. Significant categories of services provided and time spent include:

(a) Case Administration (206.8 hours). During the Compensation Period,
WNYJ assisted Debtors with the general administration of its bankruptcy case, and
otherwise responded to general issues that confronted the Debtors. Those services
included: preparing and filing the bankruptcy petitions and assisting Debtors with the
preparation and filing of their Schedules and Statements of Financial Affairs; preparing
for the initial debtor conference with the U.S. Trustee’s Office; advising Debtors with
respect to issues pertaining to business operations and budget matters; negotiating with
Debtors’ creditors and other stakeholders; preparing and filing various motions with the
Court, including (i) first day motions to determine adequate assurance for utilities, for
authority to pay employee wages and benefits, and other administrative matters essential
to the continued operation of the Debtors’ businesses, and (ii) motions authorizing
Debtors to case professionals; attending multiple hearings before the Bankruptcy Court
on filed motions and contested matters; communicating with counsel for the Official
Committee of Unsecured Creditors (the “Committee”) and other stakeholders regarding

the case; and preparing or submitting notices and orders to the Court.
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(b) Asset Disposition (65.2 hours). WNJ provided substantial assistance in
connection with the sale of Debtors’ assets, including negotiating the terms of the
agreement between Debtors and Project BarFly, LLC; drafting and filing the related sale
motions, proposed orders, and supporting declarations.

(c) Assumption and Rejection of Leases and Contracts (134.7 hours) and
Real Estate (78.5 hours). Debtors had over 100 executory contracts. WNJ assisted
Debtors in reviewing these various contracts and determining whether to and when to reject
these contracts. WNJ drafted and filed six omnibus motions to reject these leases and
executory contracts and related court orders. Further, Debtors operated over a dozen
restaurants and leased each one of those properties. WNJ attorneys had numerous
communications with landlords related to lease issues, including rent payments,
restaurant closings, personal property, real estate taxes, and trade fixtures. WNJ
negotiated, drafted, and finalized lease amendments with landlords.

(d) Fee/Employment Applications (63.3 hours). WNJ prepared and filed the
WNJ employment application and assisted Rock Creek Advisors, LLC, Mastadon
Ventures, Inc., and Pachulski Stang Ziehl & Jones LLP with their respective applications.
WNJ further drafted and filed Mastadon’s final fee application. WNJ prepared, reviewed,
and filed WNJ’s monthly fee statements and reviewed the fee statements filed by the
Committee professionals. WNJ drafted its final fee applications and numerous exhibits and

assisted the other Debtor professionals with the same.
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12. Expenses. WNSJ also incurred various expenses in these Chapter 11 cases.
Description Amount
Filing Fee $41,208.00
Federal Express Charges $4,138.26
Motion Fees $377.00
Photocopies $1,812.00
Postage $4,143.71
Priority Mail Charges $3,108.90
TOTAL $54,787.87
13. All expenses incurred by WNJ in connection with its representation of the

Debtors were ordinary and necessary expenses. WNJ charges its clients for out-of-pocket
expenses incurred in connection with the client’s case. The expenses charged to clients include,
Court filing fees, mail and express mail charges, special or hand delivery charges, document
retrieval, photocopying and scanning charges, travel expenses, expenses for working meals,
computerized research, and transcription costs. WNJ charged Debtors for these expenses in a
manner and at rates consistent with charges made generally to WNJ’s other clients.

14. Based upon the foregoing, WNJ satisfies the standards required under the
bankruptcy laws for receiving the requested compensation and expense reimbursements.

15. WNJ requests that the Court authorize Debtors to pay the unpaid balance of all
fees and expenses allowed by the Court.

16. To date, WNJ has been paid a total of $248,931.91 by the Debtors for its
postpetition fees and expenses incurred in these Chapter 11 cases during the Compensation
Period pursuant to the Procedures Order. This amount has not been shared, and no agreement or
understanding exists between WNJ and any other entity for the sharing of compensation received

or to be received for services rendered in or in connection with these Chapter 11 cases. The
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outstanding amount owed to PSZ&J for unpaid fees and expenses during the Compensation

Period will be $65,149.96, plus any supplemental fees incurred as set forth below.

 

17. No previous application for the relief sought herein has been made to this or any
other court.
SUPPLEMENTAL FEES
18. Because there may be other actions that need to be taken prior to conversion of

these cases in order to aid the soon to be appointed chapter 7 trustee in successfully maximizing
the recovery to unsecured creditors, WNJ may need to continue providing some services between
the date of the filing of this Application and the conversion date. It would be problematic if
WNJ was obliged to cease all work following the filing of this Application.

19, Accordingly, no later than eight days before submitting its proposed order
approving this Application, WNJ will file a supplemental fee statement with any additional time
or expenses incurred (“Supplemental Fee Statement”) subsequent to the Compensation Period.
WNYJ will serve the Supplemental Fee Statement on the notice parties set forth in the Procedures
Order and such notice will provide that such parties will have a period of seven days to file any
objections to the Supplemental Fee Statement. If no objections are timely filed, then the fees and
expenses set forth in the Supplemental Fee Statement will, subject to Court approval, likewise be
deemed allowed on a final basis.

20. The foregoing procedure is appropriate in this case because: (i) WNJ estimates
that the aggregate fees and expenses set forth in the Supplemental Fee Statement will be
minimal, (ii) the funds to be utilized to pay amounts requested in the Supplemental Fee
Statement are capped by the Wind-Down Budget, (iii) the funds to be utilized to pay amounts

requested in the Supplemental Fee Statement will not impact the estate because, pursuant to the
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Sale Order, any unused funds will be returned to the Prepetition Secured Lenders upon
conversion of these cases, and (iv) any fees and expenses exceeding that cap set forth in the
Wind-Down Budget will be voluntarily disallowed.
NOTICE

21. | Under the Procedures Order, WNJ will provide notice of this Application through
the Court’s ECF system to: (a) the Office of the United States Trustee for the Western District of
Michigan; (b) counsel to the Official Committee of Unsecured Creditors; and (c) parties who
have filed a notice of appearance with the Clerk of the Court and requested notice of filings in
these cases. Additionally, WNJ will provide notice of this Application, by U.S. Mail, to: (i)
BarFly Ventures, LLC, c/o Mark A. Sellers, HII, 35 Oakes Street, SW, Suite 400, Grand Rapids,
Michigan 49503, email: mark@barflyventures.com; (ii) the Office of the United States Trustee,
125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503 (Attn. Michael Maggio), email:
michael.v.maggio@usdoj.gov; (iii) Sugar Felsenthal Grais & Helsinger, LLP, 30 N. La Salle
Street, Suite 3000, Chicago, IL 60602 (Attn: Michael S. Brandeess), email:
mbrandess@sfgh.com; (iv) Jaffe Rait Heuer & Weiss, P.C., 27777 Franklin Road, Suite 2500,
Southfield, MI 48034 (Attn: Paul r. Hage), email: phage@jaffelaw.com; (v) Rayman & Knight,
141 E Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:
slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,
Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com.

22. This constitutes good and sufficient notice and WNJ does not need to provide any
other or further notice.

WHEREFORE, WNJ requests that the Court enter an order (a) awarding

WNJ compensation in the amount of $259,294.00 in fees and $54,787.87 in expenses, (b)
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allowing such compensation as an administrative expense claim of Debtors’ estate pursuant to
11 U.S.C. § 503(b) and 507(a)(2); and (c) awarding WNJ such other and further relief as the
Court may deem just or proper.
Dated: March 5, 2021 Respectfully submitted,

WARNER NORCROSS & JUDD LLP

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